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June 6, 2025

                                                                                                                Jennise Walker-Stubbs
The Honorable Vince Chhabira District Judge
United States District Court for the Northern District of California                                         JPMorgan Chase Tower
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Re: Joint Letter – Boyette et al. v. Monsanto Company et al.
    Case No. 3:16-md-02741-VC/3:25-cv-04401-VC
    MDL No. 2741

The Parties submit this joint letter pursuant to Pre-Trial Order 155. Case No. 3:16-md-02741-VC,
Dkt. No. 4454 (July 3, 2019). Last month, a multi-plaintiff case (Boyette) was transferred into
MDL No. 2741, In Re: Roundup Products Liability Litigation. The parties dispute whether
severance is appropriate.

This case was removed to federal court on May 5, 2025 based on 28 U.S.C. § 1452 and 28 U.SC.
§ 1334(b). At the time this case was removed, True Value, LLC (“True Value”) was a defendant.
As described in Monsanto Company’s Notice of Removal, on October 14, 2024, True Value
recently filed a voluntary petition under chapter 11 of title 11 of the United States Code, 11. U.S.C.
§§ 1101 et seq. True Value has since been dismissed via the filing of an amended complaint.
Plaintiffs have filed a motion to remand this case to state court. Defendants plan to oppose that
motion.

Defendants’ Position

Boyette is a multi-plaintiff case involving the claims of eleven plaintiffs. See Dkt. No. 15. These
eleven plaintiffs assert claims against eight defendants. See id. The plaintiffs previously also
asserted claims against True Value, which was dismissed without prejudice via an amended
complaint. See Dkt. Nos. 1-1, 15. Nonetheless, because this case came to this Court “through the
valid and appropriate exercise” of Section 1452, Plaintiffs’ dismissal of True Value “after removal
[does] not oust this [C]ourt of jurisdiction it had when the case was removed.” In re United
Petroleum Grp., Inc., 311 B.R. 307, 311 (Bankr. S.D. Fla. 2004). Whether the Court should retain
jurisdiction is a matter that the Court will resolve in conjunction with Plaintiffs’ motion to remand.

At the appropriate time, Defendants will demonstrate that the Court should retain jurisdiction. For
now, federal jurisdiction is perfected. Accordingly, PTO 155 applies to this action, as do the Federal
Rules of Civil Procedure, including Rule 21, which governs joinder. This case—involving eleven
plaintiffs with different exposure histories, medical backgrounds, and types of cancer—should be


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severed. And the inclusion of eight defendants—including seven sellers requiring individualized
proof from each plaintiff—amplifies the need for severance.

This Court previously ruled both that “a federal court can only sever a case over which it has
jurisdiction, and [that] federal jurisdiction is assessed at the time of removal.” In re Roundup
Products Liab. Litig. (Abreu), 396 F. Supp. 3d 893, 898 (N.D. Cal. 2019). In Abreu the Court found
severance was not proper (even though it would create diversity jurisdiction over some of the
severed cases) because jurisdiction was absent to begin with. See id. Here, jurisdiction is presently
proper. Accordingly, both of the rules that militated against allowing severance in Abreu call for
severance here. Jurisdiction existed “at the time of removal” and the Court still “has jurisdiction.”
See id.1

Severance here will also protect the defendants’ right to removal by preventing fraudulent joinder.
These eleven plaintiffs banded together to sue a collection of eight defendants without factual
allegations establishing that each of the plaintiffs actually purchased glyphosate-based herbicides
from each of the defendants. This approach has jurisdictional implications: because four of the
defendants are not diverse (RK Holdings, LP; Growmark, Inc., Farm and Home Supply, Inc., and
Ace Hardware Corporation), this vague group pleading prevented Defendants from establishing
diversity jurisdiction. And indeed, Plaintiffs now seek remand based on the absence of diversity
jurisdiction. See Dkt. No. 25.

In ordering severance based on the Court’s extant subject matter jurisdiction, the Court can remind
the various plaintiffs of their obligations to assert claims against only those retailers from whom
they actually purchased glyphosate-based products. It is exceedingly doubtful that every single one
of the plaintiffs just happened to have purchased such products from at least one of the non-diverse
defendants. Coupled with the filings of focused short-form complaints, severance will thus likely
add an additional basis for the exercise of subject matter jurisdiction, at least in some of the
plaintiffs’ cases. Meanwhile, any plaintiffs who can in good faith allege that they purchased
glyphosate-based products from a non-diverse defendant will still have available the same
arguments in favor of remand that they make now.

In short, this Court has subject matter jurisdiction based on 28 U.SC. § 1334(b). That basis of
jurisdiction is not even challenged by Plaintiffs’ motion to remand, which instead addresses
diversity. Because jurisdiction is presently perfected, the Court should order severance in the
ordinary course. Whether or not remand is required (of any or all of the plaintiffs’ cases) should be
decided afterward.


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  When a case is properly removed under 28 U.SC. § 1334(b), motions to remand are typically
decided under 28 U.S.C. § 1334(c)(2), an abstention statute. This statutory abstention rule is “not
jurisdictional.” See, e.g., Robinson v. Michigan Consol. Gas Co. Inc., 918 F.2d 579, 584 (6th Cir.
1990). Thus even if there is a potential for remand—which Defendants deny—jurisdiction is
present now.


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Plaintiffs’ Position
Plaintiffs believe that severance should not occur now and should instead await resolution of the
pending motion to remand. In Plaintiffs’ view, the Court should refrain from taking substantive or
administrative action—such as severing the case—while the question of remand remains
unresolved. Moreover, Plaintiffs argue that severance at this juncture would waste judicial
resources. If the remand motion is granted, the case would be returned to state court, potentially
rendering any severance decision moot. Plaintiffs assert that the more efficient course of action is
to allow the Court to rule on the remand motion first, thereby avoiding unnecessary procedural
steps and potential duplicative efforts.

Respectfully Submitted,


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